Case 07-11047-CSS Doc 9692-12 Filed 01/20/11 Pageiofi1
Case 3:10-cv-00762-B -BD Document 91 Filed 1°/16/10 Page 64 of 86 PagelD 942

Case 3:10-cv-00762-B-BD Document 85 Filed 10/20/10 Page 177 of 181 PagelD 840

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| OCT 3.0 2008

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THES IS NOT A PUBLIC Date Oct. 19,2008 -f “L__——___.
COMMUNICATION RESEARCH DFP"
Notice to Agent is Notica to Principle ! ,
Norlee to Principle is Notice to Agent Rlussain L Kareem, without prejudice

Applicable to all savcessors and assigns 2197 ‘Caplysie Creal Dr

Silence is Acquiescence/AgreemenvDishonor Lawresceville, GA 30044 -

This is self-executing contract.

Seat Certified Mall @ 70°§ 200 OQd] BEYUS OWT. -- my
Re: Rescission Demand Ni tice ‘ ‘

With proof of service to: ° 7 os een ne errernee
Michael Strzus, CEO individually and .

Aamesican Home Mortgage, ins., AHIMSI, and ET AL OCT 21 Te
$38 Broedhollow Rd.

Melville, NY 11747 O03 [RA 90 AR. wees
RE: Alleged Loan # 1001350490 Property Address: 1927 Carlysle Creek Drive , GA 30044

Dear Six:

In response to my most recent letters frous you dated 07/08/2008 reserding my property, | am rescinding
your alleged Loan Number 1003350490, as related to the above subject property. You, your bank and your _
Servicing Company, AHMSI, have received my Affidavit of Non- ltesponse for Debt Validation and my
Affidavit Of Security Deed Dlegslity respectively (see Exhibits}, prsuant to , but oot limited, to my rights
uuder the Fair Debt Collection Practices Act (EDCPA), and the Un form Commercial Code (UCC), State
Cotamercial Code, Contrect Law, Fair Credit Billing Act (FCBA) aud the State of Goorgia Seatues
O.C.G.A. § 44-14-236 and 0.C.G.A. § 9-13-27, respectively, You and your interested parties are
in default and.dishonor. You will have to cease and desist from any collection activities. My
rights should not allow you as a debtor, under Federal Bankruptey protection, Chapter 1), Case
No. 07-11047 (CSS) from adhering to the Federal Rescissios Demand.

Furthermore, please be advised thor I amy exercising my rights unde: Regulanop Z of the Truth In Lending
Act (TELA) to rescind my mortgage loan transaction (Rep, Z §§ 22:3.15(aX(2), 226.23(aX(2), Official Staff
Commentary §226.23(aX2)-1) and 15 U.S.C. §1635(6).

PAILORE of the Lender to take necessary and approrriate action to reflect the fact that the
security interest was automatioally terminated by the rescission within twenty (20) days of
creditor's receipt of the rescission notice, is a violation of 15 USC

, ot 1635(b);Reg.2.15(d)(2),226.23(d)(2), ( also seg “Ameri quest Mortgage Company Mortgage
Lending Practices Litigation,” M.D.L, No. 1715, Lead Dase No. 05-cv07097 (N_D.D}.)

Therefore, my demand fs for you to uphold the all the laws and statues cited and to comply with this
rescission demand notice, immediately. Please forward to me a somplete accounting of all payments
that I have made joward the promissory ote. Non compliance shall sesult in our pursuit of all civil
and crimina} remedies against all parties, with prejudice.

+e

Hussain
All Rights Reserved.

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APP 0174
